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3
                                   UNITED STATES DISTRICT COURT
4
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
5

6    UNITED STATES OF AMERICA,                              1:16-cr-00094-LJO-SKO
7                              Plaintiff,                   ORDER ON DEFENDANT'S MOTION
                                                            TO DISMISS
8                       v.
                                                            (Doc. 39)
9    OTONEL CARDENAS-TORRES,
10                             Defendant.
11

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13          On May 20, 2019, a hearing took place before the undersigned as a result of the Defendant's

14 Motion to Dismiss based on 6th Amendment speedy trial grounds. After oral argument, the matter was

15 taken under submission.

16          The Court incorporates Court Document 52, pages and lines 1:25 to 13:22, and the entirety of

17 Document 52-1 for the factual background, legal authority, and reasoning for this Order. The Court also

18 incorporates the Court transcript from the hearing that occurred on May 20, 2019, for the arguments of

19 both counsel and the responses to those arguments for reference and reliance.

20          The Government has shown reasonable diligence and an adequate basis for the delay in arresting

21 the defendant after Indictment. There has been no factual, actual and/or legal prejudice to the defendant.

22 There has been no violation of the 6th amendment in this case. On balance, the defendant is not entitled

23 to dismissal on the law and facts cited.

24          Therefore, it is hereby ORDERED:

25          1.   The instant Motion to Dismiss is DENIED; and

                                                        1
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1         2.    The matter is set for a TRIAL SETTING CONFERENCE on Monday, June 3, 2019, at

2               10:00 a.m. before the undersigned.

3    IT IS SO ORDERED.

4      Dated:     May 21, 2019                           /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
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